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Iu the Gnited States District Court
for the Southern District of Georgia
Brunswick Dibision

CANDACE MIZE,
Plaintiff,
Vv. CV 221-038
300 F STREET, INC., et al.,

Defendants.

 

ORDER

 

Before the Court is the parties’ Joint Motion for Approval
of Settlement, dkt. no. 22, wherein the parties notify the Court
that they have reached a settlement of the claims asserted in
this action. Attached to the joint motion is the parties’
Settlement Agreement. Dkt. No. 22-1.

The Court has reviewed the Settlement Agreement and finds
that it fairly and reasonably resolves Plaintiff’s FLSA claims.
Accordingly, the parties’ motion, dkt. no. 22, is GRANTED, and
the Settlement Agreement is APPROVED. All claims asserted in
this action are DISMISSED with prejudice. The parties shall
bear their own costs and attorneys’ fees. The Clerk is DIRECTED

close this case.
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SO ORDERED, this (4 day of January, 2022.

 

HOW /LISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
